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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                     :
MARK A. PANOWICZ
                                     :

     v.                              :    Civil Action No. DKC 11-2417

                                     :
SHARON L. HANCOCK
                                     :

                     MEMORANDUM OPINION AND ORDER

     Presently pending and ready for review are Plaintiff Mark

Panowicz’s motion for reconsideration (ECF No. 90) and motion to

reopen the sovereign immunity issue (ECF No. 91).               The issues

have been fully briefed, and the court now rules, no hearing

being deemed necessary.      Local Rule 105.6.           For the following

reasons, Plaintiff’s motions will be denied.

I.   Background

     The background to this case may be found in the memorandum

opinion issued on July 9, 2015.            (See ECF No. 88, at 2-16).

That opinion and an accompanying order granted Defendant Sharon

Hancock’s   (“Defendant”)   motion       for   summary   judgment,   denied

Plaintiff Mark Panowicz’s (“Plaintiff”) cross-motion for summary

judgment, and entered judgment in favor of Defendant and against

Plaintiff on all of Plaintiff’s remaining claims.             On July 27,

2015, Plaintiff filed a motion for reconsideration (ECF No. 90),

a motion to reopen the sovereign immunity issue (ECF No. 91),
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and   a    memorandum    in   support   of   his     motions   (ECF   No.   92-3).

Defendant responded in opposition (ECF No. 93), and Plaintiff

replied (ECF No. 94).

II.   Standard of Review

      A motion for reconsideration filed within 28 days of the

underlying order is governed by Fed.R.Civ.P. 59(e).1                  Courts have

recognized      three   limited    grounds     for    granting   a    motion   for

reconsideration pursuant to Rule 59(e): (1) to accommodate an

intervening change in controlling law; (2) to account for new

evidence not available at trial; or (3) to correct clear error

of law or prevent manifest injustice.                See United States ex rel.

Becker v. Westinghouse Savannah River Co., 305 F.3d 284, 290 (4th

Cir. 2002) (citing Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co., 148

F.3d 396, 403 (4th Cir. 1998)).             A motion for reconsideration is

properly denied when a movant fails to establish one of these

three criteria.          See, e.g., Jarvis v. Enter. Fleet Servs. &

Leasing Co., No. DKC-07-3385, 2010 WL 1929845, at *2 (D.Md. May

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       A party may move to alter or amend a judgment under Rule
59(e), or for relief from a judgment or order under Rule 60(b).
See Fed.R.Civ.P. 59(e) & 60(b).    A motion to alter or amend
filed within 28 days of the judgment is analyzed under Rule
59(e); if the motion is filed later, however, Rule 60(b)
controls. See MLC Auto, LLC v. Town of S. Pines, 532 F.3d 269,
280 (4th Cir. 2008); Classen Immunotherapies, Inc. v. King
Pharmaceuticals, Inc., No. WDQ–04–3621, 2013 WL 5934055, at *3
(D.Md. Oct. 31, 2013).      Here, because Plaintiff moved for
reconsideration within 28 days of the July 9, 2015 memorandum
opinion and order, Rule 59(e) governs the pending motion for
reconsideration.


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11, 2010), aff’d, 408 F.App’x 668 (4th Cir. 2011) (denying motion

to reconsider because the plaintiff failed to identify valid

circumstances that would cause the district court to alter or

amend its prior opinion).

        A Rule 59(e) motion “may not be used to relitigate old

matters, or to raise arguments or present evidence that could

have been raised prior to the entry of judgment.”                          Pac. Ins.

Co.,    148   F.3d     at   403    (quoting     11   Wright,    et    al.,    Federal

Practice & Procedure § 2810.1, at 127–28 (2d ed. 1995)); see

also Medlock v. Rumsfeld, 336 F.Supp.2d 452, 470 (D.Md. 2002),

aff’d, 86 F.App’x 665 (4th Cir. 2004) (citation omitted) (“To the

extent that Plaintiff is simply trying to reargue the case, he

is not permitted to do so.               Where a motion does not raise new

arguments, but merely urges the court to ‘change its mind,’

relief is not authorized.”).             “In general, ‘reconsideration of a

judgment after its entry is an extraordinary remedy which should

be used sparingly.’”           Pac. Ins. Co., 148 F.3d at 403 (quoting

Wright, et al., supra, § 2810.1, at 124).

III. Analysis

        Plaintiff’s motion for reconsideration does not satisfy any

of   the    three    grounds      for   reconsideration      under     Rule    59(e).

Plaintiff     has    not    identified    any    intervening     change       in   law,

newly      developed    evidence,       clear   error   of     law,   or     manifest

injustice to warrant an alteration of the prior judgment.                           He

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makes     several         arguments          to          support        his        motion       for

reconsideration, but none are persuasive.

      First,      Plaintiff        argues         that       “the    Court     may      not    have

understood Plaintiff was asserting [as] a basis for liability

against    Defendant[]        .    .   .    reckless          disregard       of     Plaintiff’s

federal rights, and acts that were grossly negligent . . . that

[] could be proven by inference from the facts presented.”                                    (ECF

No.   92-3,    at       2).       Contrary        to        Plaintiff’s       assertion,        the

memorandum     opinion        indeed       did        address       Plaintiff’s       burden    of

proof and the possibility of demonstrating fault by inference.

(See ECF No. 88, at 26, 27 n.4).                         Plaintiff attempts to rehash

the same arguments and facts that he presented in his cross-

motion for summary judgment, and he contends that they provide

an inference that Defendant acted with reckless disregard and

gross   negligence.           A   Rule      59(e)        motion      may     not   be    used    to

relitigate        old    matters,      which           is    precisely        what      Plaintiff

attempts to do here.              The memorandum opinion issued on July 9,

2015 explained that the facts presented by Plaintiff did not

support     his    assertion       that      Defendant          had     acted        with     gross

negligence or reckless disregard in carrying out her duties as

Clerk of the Circuit Court for Charles County.                                (Id. at 23-29).

Plaintiff      was      found     to       have       “presented        no     evidence        that

Defendant Hancock or Clerk [Richard] Day were aware or should

have been aware that Clerk’s Office employees were engaged in

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conduct     that     posed     a     pervasive      and     unreasonable             risk    of

constitutional injury to citizens like Plaintiff.”                         (Id. at 38).

Furthermore, Defendant was found to be statutorily immune from

liability for the improper recording of Plaintiff’s conviction

because     she    did   not       personally      review    or     sign       Plaintiff’s

commitment records, and there was no indication that she could

have ratified the error.             (Id. at 43-44).         Accordingly, there is

no reason to disturb the memorandum opinion and order.

      Second,      Plaintiff       contends     that      recent    case       law    of    the

United States Court of Appeals for the Fourth Circuit requires

that Defendant prove entitlement to sovereign immunity under the

Eleventh     Amendment.            Plaintiff       also     moves     to       reopen       the

sovereign immunity issue “previously decided by an interlocutory

order.”     (ECF No. 91, at 1).             Motions for reconsideration of an

interlocutory order are governed by Fed.R.Civ.P. 54(b), under

which “any order or other decision . . . may be revised at any

time before the entry of a judgment adjudicating all the claims

and   all   the     parties’       rights    and    liabilities.”              Thus,        when

warranted, a district court retains the power to reconsider and

modify    its     interlocutory       judgments     at     any     time    before       final

judgment.        Am. Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505,

514–15    (4th    Cir.   2003);      Fayetteville         Investors       v.    Commercial

Builders,       Inc.,    936   F.2d     1462,      1469     (4th    Cir.       1991)        (“An

interlocutory order is subject to reconsideration at any time

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prior    to   the     entry    of    a   final    judgment.”).             Judgments      are

generally final only when they adjudicate and resolve all claims

as to the parties.             Moore v. Lightstorm Ent., No. RWT-11-3644,

2013 WL 4052813, at *3 (D.Md. Aug. 9, 2013) (citing Millville

Quarry Inc. v. Liberty Mut. Fire Ins. Co., 217 F.3d 839, 2000 WL

1005202,      *3    (4th   Cir.     2000)).       The    July       9,    2015    memorandum

opinion and accompanying order entered summary judgment in favor

of Defendant and denied Plaintiff’s motions.                         Given the entry of

a   final          judgment,        Plaintiff       can        no        longer     request

reconsideration        of     an    interlocutory       order,       as    he    does   here.

Plaintiff’s motion to reopen the sovereign immunity issue will

be denied.

        Were Plaintiff able to contest the sovereign immunity issue

through       his     Rule     59(e)      motion        for     reconsideration,           he

nonetheless fails to provide a sufficient basis to alter or

amend the court’s decision.               Plaintiff argues that “Defendant[]

. . . failed to adequately address [her] burden of proof” to

demonstrate entitlement to sovereign immunity, and he suggests

that the issue should be rebriefed.                       (ECF No. 92-3, at 7).

Although      Plaintiff        mistakes       the       case     law       he     cites    as

constituting a change in Fourth Circuit controlling law, the

substantive law governing the application of sovereign immunity

remains the same.           Hutto v. South Carolina Retirement System did

not materially alter the analysis and relevant considerations in

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determining       whether       an    entity         or    official       enjoys        sovereign

immunity.        773 F.3d 536 (4th Cir. 2014).                          Rather, the Fourth

Circuit     in     Hutto        reiterated            that        “the        most       important

consideration is whether the state treasury will be responsible

for paying any judgment that might be awarded.                                     Thus, if the

State treasury will be called upon to pay a judgment against a

governmental entity, then Eleventh Amendment immunity applies to

that entity.”         Id.       at 543 (citations and internal quotation

marks omitted).           At the dismissal stage, a proper analysis of

relevant factors and considerations was conducted.                                 (See ECF No.

9, at 12-18).         It was determined that, “[c]onsidering that a

judgment against Defendant would likely be paid from the state

treasury,     that        her        position         is     created          by     the     state

constitution,      and      that      her    duties         are     defined        by    statute,

Defendant is a state official under Maryland law.”                                   (Id. at 17-

18).      Plaintiff       cannot       point         to    an     intervening           change   in

controlling law that would give the court pause to reconsider

its judgment.

       Third, Plaintiff asserts that “[t]he Court may have made

several     misinterpretations              of       the     evidence          and       documents

submitted    in    this     case.”          (ECF      No.       92-3,    at    8).        However,

Plaintiff does not offer new evidence that was unavailable at

trial.       To     the     contrary,         he          repeats       previous         arguments

concerning available evidence and raises a new argument that the

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statute     of    limitations         was    tolled         or     did    not     apply       to   his

defamation       claim    brought      under          the    Maryland          Tort    Claims      Act

(“MTCA”).        The Fourth Circuit has cautioned that a party may not

employ a Rule 59(e) motion to “raise arguments which could have

been raised prior to the issuance of the judgment . . . [or]

argue a case under a novel legal theory that the party had the

ability to address in the first instance.”                               Pac. Ins. Co., 148

F.3d   at    403       (citations      omitted).             Even        so,    the        memorandum

opinion     clearly      determined         that       clerks      “are        considered       state

personnel under the MTCA and are immune from personal liability

for allegedly tortious acts or omissions that are within the

scope of their public duties and are made without malice or

gross negligence.”             (ECF No. 88, at 46 (citing Estate of Saylor

v. Regal Cinemas, Inc., 54 F.Supp.3d 409, 422 (D.Md. 2014))).

Accordingly, Plaintiff’s claims would be barred by Defendant’s

statutory immunity under the MTCA.

       Plaintiff        also    seeks        to       relitigate         previous           arguments

regarding        his    Article       40     defamation            claim,        his       claim    of

ineffective assistance of counsel, his contention that double

jeopardy applies, and his assertions that the available evidence

demonstrates           Defendant’s          malice          or     gross        negligence          or

constitutes admissions of liability.                             (ECF No. 92-3, at 9-14).

Again, Plaintiff does not offer new evidence or identify any

intervening        change        in         controlling            law.               To     justify

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reconsideration       on   the      basis    of    manifest     error,   the      prior

decision cannot be “just maybe or probably wrong; it must . . .

strike [the court] as wrong with the force of a five-week-old,

unrefrigerated dead fish.”                 TFWS, Inc. v. Franchot, 572 F.3d

186, 194 (4th Cir. 2009) (citation and internal quotation marks

omitted).     Here, Plaintiff fails to show that an amendment of

the prior memorandum opinion is necessary to prevent manifest

injustice.        Plaintiff’s reiteration of prior arguments reveals a

“mere disagreement” with the court’s decision and thus is an

insufficient       basis   for      such    an    extraordinary     remedy.         See

Hutchinson v. Staton, 994 F.2d 1076, 1082 (4th Cir. 1993).

        Fourth,    Plaintiff     argues         that   a   determination     in    the

memorandum opinion “may be based in issues that were beyond the

adversarial issues presented to the Court.”                     (ECF No. 92-3, at

2).     That is, Plaintiff contends that the court reconsidered its

prior     holding     when     it     “characterized         [Plaintiff’s]        false

conviction as simply an error made by the Defendant[].”                      (Id. at

14).     Plaintiff mistakes the court’s prior determination “that

there was a proper allegation of a ‘stigma-plus’ claim” for a

finding    that     Plaintiff       had    sufficiently      demonstrated      such   a

claim.     (Id. at 15).      Denying Defendant’s motion to dismiss, the

court found that Plaintiff had “set forth a sufficient § 1983

claim against Defendant in her individual capacity, albeit by a

very thin margin.”         (ECF No. 9, at 30).             Contrary to Plaintiff’s

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assertion, however, the July 9, 2015 memorandum opinion did not

reverse a previous holding or conflict with the court’s analysis

at the dismissal stage.          Rather, that Plaintiff sufficiently

pleaded a § 1983 claim against Defendant did not relieve him of

his burden to provide facts and demonstrate the elements of such

a claim.     Indeed, Plaintiff was warned that he would “ultimately

be required to show prior instances of misconduct to prevail on

his supervisory liability claim.”           (Id. at 29).         At the summary

judgment stage, Plaintiff “failed to meet his heavy burden of

establishing    [Defendant’s]    deliberate       indifference      by   showing

‘continued     inaction    in   the   face       of   documented     widespread

abuses.’       Moreover,   Plaintiff       has    failed    to    establish     an

affirmative causal link between his injury and the purported

inactions of Defendant.”        (ECF No. 88, at 37-38 (quoting Slakan

v. Porter, 737 F.2d 368, 373 (4th Cir. 1984))).                  The memorandum

opinion granting summary judgment in favor of Defendant was not

clearly erroneous and did not work manifest injustice.                       Thus,

this ground for reconsideration is also meritless.

       Plaintiff has not met the high bar he faces to succeed on

his motion for reconsideration under Rule 59(e).                  To the extent

that    Plaintiff    advances   new    arguments       in   his     motion     for

reconsideration, they are arguments that were available to him

and should have been raised in his prior filings.                     Plaintiff

cannot point to an intervening change in controlling law since

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the July 9, 2015 memorandum opinion and order.                    He offers no new

evidence that has since come to light.                    And Plaintiff fails to

identify any clear error of law or manifest injustice to warrant

this extraordinary remedy.             Accordingly, Plaintiff has not met

the grounds for reconsideration under Rule 59(e).

IV.   Conclusion

      For    the      foregoing       reasons,      Plaintiff’s         motions     for

reconsideration and to reopen the sovereign immunity issue will

be denied.         Thus, it is this 5th day of October, 2015, by the

United     States    District       Court   for    the    District      of   Maryland,

ORDERED that:

      1.     Plaintiff Mark Panowicz’s motion for reconsideration

(ECF No. 90) BE, and the same hereby IS, DENIED;

      2.     Plaintiff       Mark     Panowicz’s         motion   to     reopen     the

sovereign immunity issue (ECF No. 91) BE, and the same hereby

IS, DENIED; and

      3.     The    clerk    will    transmit      copies    of   this       Memorandum

Opinion     and    Order    to   counsel     for   Defendant      and    directly    to

Plaintiff.



                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




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